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BMR:TJS
F.# ZOOSROOOSO

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

 

_____ _ _ _ _ _ _ _ _ _ _ _ _ X
UNITED STATES OF AMERICA 1 N D I C T M E N T
~ against - Cr. No.
(T. 18, U.S.C.. §§

VINCENT BASCIANO, 924(€)(1)(A)(iii),

also known as “Vinny Gorgeous” 1959(a)(l), 1959(a)(5),

and “Vinny from the Bronx,” and 2 and 3551 §§ seg.)
DOMINICK CICALE,

Defendants.

___________ ________ X

THE GRAND JURY CHARGES:
INTRODUCTION TO ALL COUNTS

At all times relevant to this indictment, unless

otherwise indicated:
The Enterprise

l. The members and associates of the Bonanno organized
crime family of La Cosa Nostra (the “Bonanno family”), also known
as the Massino family, constituted an “enterprise,” as defined in
Title 18, United States Code, Section 1959(b)(2), that is, a
group of individuals associated in fact that engaged in, and the
activities of which affected, interstate and foreign commerce.
The Bonanno family was an organized criminal group that operated
in the Eastern District of New York, other parts of the United

States and Canada.

 

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2. The Bonanno family operated through groups of
individuals headed by “captains,” who were also referred to as
“skippers,” “caporegimes” and “capodecinas." These groups, which
were referred to as “crews,” “regimes” and “decinas,” consisted
of “made” members of the Bonanno family, also referred to as
“soldiers,” “friends of ours," “good fellows” and “buttons,” as
well as associates of the Bonanno family.

3. Each captain was responsible for supervising the
criminal activities of his crew and providing crew members and
associates with support and protection. In return, the captain
received a share of the earnings of each of the crew's members
and associates.

4. Above the captains were the three highest-ranking
members of the Bonanno family. The head of the Bonanno family
was known as the “boss.” He was assisted by an “underboss” and a
counselor, who was known as the “consigliere.” With the
assistance of the underboss and consigliere, the boss was
responsible for setting policy, resolving disputes between
members and associates of the Bonanno family and members and
associates of other criminal organizations, and approving all
significant actions taken by members and associates of the
Bonanno family, including murder.

5. The boss, underboss and consigliere of the Bonanno

family, who were sometimes referred to collectively as the

 

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“administration,” supervised, supported, protected and
disciplined the captains, soldiers and associates and regularly
received reports regarding the activities of the members and
associates of the Bonanno family. In return for their
supervision and protection. the boss, underboss and consigliere
received part of the illegal earnings of each crew. When a
member of the administration was unable to fulfill his criminal
responsibilities because of incarceration, ill health or other
reason, a member of the Bonnano Family was often appointed to
that position in an acting capacity.

6. The Bonanno family was part of a nationwide
criminal organization known by various names, including the
“mafia” and “La Cosa Nostra,” which operated through entities
known as “families.” The ruling body of this nationwide
organization was known as the “commission,” the membership of
which at various times has included the bosses of the five New
York City-based families, to wit: the Bonanno, Colombo, Gambino,
Genovese and Luchese organized crime families. For a period of
time, the boss of the Bonanno family was removed from membership
within the commission.

7. From time to time, the Bonanno family would propose
a list of associates to be “made,” that is, to become members of
the Bonanno family. The list would be circulated to the other

families based in New York City. Upon becoming “made,” each

 

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member would take an oath of “omerta,” vowing never to reveal any
information about the Bonanno family, its members or associates.

The Purposes. Methods and Means of the Enterprise

8. The Bonanno family constituted an ongoing
organization, whose members functioned as a continuing unit for a
common purpose of achieving the objectives of the enterprise.

The principal purpose of the Bonanno family was to generate money
for its members and associates. This purpose was implemented by
members and associates of the Bonanno family through various
criminal activities, including arson, credit card fraud, drug
trafficking, extortion, kidnaping, illegal gambling, interstate
transportation of stolen goods, loansharking, and robbery. The
members and associates of the Bonanno family also furthered the
enterprise’s criminal activities by threatening economic injury
and using and threatening to use physical violence, including
murder.

9. Although the primary purpose of the Bonanno family
was to generate money for its members and associates, the members
and associates at times used the resources of the Bonanno family
to settle personal grievances and vendettas, sometimes with the
approval of higher-ranking members of the Bonanno family. For
those purposes, members and associates of the enterprise were
asked and expected to carry out, among other crimes, acts of

violence, including murder and assault.

 

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10. The members and associates of the Bonanno family
engaged in conduct designed to prevent government detection of
their identities, their illegal activities and the location of
proceeds of those activities. That conduct included a commitment
to murdering persons, particularly members or associates of
organized crime families. who were perceived as potential
witnesses against members and associates of the enterprise.

ll. Members and associates of the Bonanno family often
coordinated street-level criminal activity, such as drug
trafficking, illegal gambling, loansharking, extortion, and
robbery, with members and associates of other organized crime
families.

The Defendants

 

12. At various times, the defendant VINCENT BASCIANO,
also known as “Vinny Gorgeous” and “Vinny from the Bronx,” was an
acting boss, a captain, a soldier and an associate within the
Bonanno family. The defendant VINCENT BASCIANO became the acting
boss of the Bonanno family following the January 20, 2004 arrest
and incarceration of Bonanno family acting boss Anthony Urso, who
became the Bonanno family acting boss following the January 9,
2003 arrest and incarceration of Bonnano family official boss

Joseph Massino.

 

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13. At various times, the defendant DOMINICK CICALE was
an acting captain, soldier and associate within the Bonanno
family.

VINCENT BASCIANO'S POSt-Arrest
Participation in the Affairs of the Bonanno Familv

l4. On or about November 19, 2004, the defendant
VINCENT BASCIANO was arrested based on a separate indictment and
incarcerated at the Metropolitan Detention Center in Brooklyn,
New York (“MDC”).

15. Following his November l9, 2004 incarceration, the
defendant VINCENT BASCIANO used a relative on his visiting list
to send messages to members and associates of the Bonanno family
regarding the maintenance and ongoing operation of the Bonanno
family. Prior to his November 19, 2004 incarceration, BASCIANO
used a criminal defense attorney and a private investigator to
send messages regarding the maintenance and ongoing operation of
the Bonnano family to a high~ranking member of the Bonnano family
incarcerated at the MDC.

16. On or about and between November 19, 2004 and
December l, 2004, both dates being approximate and inclusive,
BASCIANO saw the previously mentioned high-ranking member of the
Bonanno family at the federal district courthouse in Brooklyn,
New York. At that time, BASCIANO proposed the murder of a

federal law enforcement official involved in investigating and

 

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prosecuting members and associates of the Bonanno family,
including BASCIANO.

17. On or about December 3, 2004, the defendant VINCENT
BASCIANO met the previously mentioned high-ranking member of the
Bonanno family at the MDC. BASCIANO discussed, among other
things, the murder of Randolph Pizzolo, also known as “Randy.”
BASCIANO reported that certain members and associates of the
Bonanno family, acting at his direction, had murdered Pizzolo.

18. Pizzolo's body was found on December l, 2004 in the
Greenpoint section of Brooklyn, New York. Pizzolo’s body had
multiple gun shot wounds. Pizzolo was an associate of the
Bonanno family.

l9. Following the December 3, 2004 encounter with the
defendant VINCENT BASCIANO, the previously mentioned high-ranking
member of the Bonanno family reported to federal law enforcement
officials the Substance of BASCIANO’S Comments regarding the
proposed murder of a federal law enforcement official and the
murder of Randolph Pizzolo.

20. On January 3, 2005 and January 7, 2005, the
defendant VINCENT BASCIANO met with the previously mentioned
high-ranking member of the Bonanno family at the MDC. Prior to
those meetings, the previously mentioned high-ranking member of
the Bonanno family gave his consent to federal law enforcement

officials to record these conversations, and the conversations

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between BASCIANO and the previously mentioned high-ranking member
of the Bonanno family on January 3 and 7, 2005 were recorded.

21. During the two January 2005 meetings, the defendant
VINCENT BASCIANO and the previously mentioned high-ranking member
of the Bonanno family spoke about, among other things, the threat
on the federal law enforcement official, the murder of Randolph
Pizzolo and the ongoing and future operation of the Bonanno
family.

22. During the January 3, 2005 conversation, the
defendant VINCENT BASCIANO explained his justification for
ordering the murder of Randolph Pizzolo. In response to the
question “Why didn't you just chase him?”, BASCIANO stated: “You
want to know why? Because he is a f ----- g dangerous kid that
don’t f ----- g listen.” Later in the conversation, BASCIANO
further discussed the murder of Pizzolo: “I thought this kid
would have been a good wake-up call for everybody.”

COUNT ONE
(Conspiracy to Commit Murder in Aid of Racketeering)

23. The allegations contained in paragraphs l through
22 are realleged and incorporated as if fully set forth in this
paragraph.
24. The Bonanno family enterprise, through its members
and associates, engaged in racketeering activity, as defined in
Title 18, United States Code, Sections 1959(b)(l) and 1961(1),

that is, acts involving murder. extortion and gambling, in

 

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violation of New York State Penal Law, acts indictable under
Title 18, United States Code, Sections 892, 893 and 894 (the
making, financing, and collecting of extortionate extensions of
credit), acts indictable under Title 18, United States Code,
Section l95l (extortion), acts indictable under Title 18, United
States Code, Section 1955 (gambling), and acts indictable under
Title 21, United States Code, Sections 841 and 846 (narcotics
trafficking).

25. In or about and between November 2004 and December
1, 2004, both dates being approximate and inclusive, within the
Eastern District of New York and elsewhere, the defendants
VINCENT BASCIANO, also known as “Vinny Gorgeous” and “Vinny from
the Bronx,” and DOMINICK CICALE, together with others, for the
purpose of gaining entrance to and maintaining and increasing
position in the Bonanno Family, an enterprise engaged in
racketeering activity, knowingly and intentionally conspired to
murder Randolph Pizzolo, also known as “Randy,” in violation of
New York Penal Law Sections 125.25(1) and 105.l5.

(Title 18, United States Code, Sections l959(a}(5) and

3551 §§ seg.)

 

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COUNT TWO
(Murder in Aid of Racketeering)

26. The allegations contained in paragraphs l through
22 and 24 are realleged and incorporated as if fully set forth in
this paragraph.

27. On or about December l, 2004, within the Eastern
District of New York and elsewhere, the defendants VINCENT
BASCIANO, also known as “Vinny Gorgeous” and “Vinny from the
Bronx,” and DOMINICK CICALE, together with others, for the
purpose of gaining entrance to and maintaining and increasing
position in the Bonnano Family, an enterprise engaged in
racketeering activity, knowingly and intentionally murdered
Randolph Pizzolo, also known as “Randy,” in violation of New York
Penal Law Sections 125.25(1) and 20.00.

(Title 18, United States Code, Sections l959(a)(l), 2
and 3551 §§ s§g.)

COUNT THREE
(Using, Carrying and Possessing a Firearm)

 

28. The allegations contained in paragraphs 1 through
22 are realleged and incorporated as if fully set forth in this
paragraph.

29. On or about December l, 2004, within the Eastern
District of New York, the defendants VINCENT BASCIANO, also known
as “Vinny Gorgeous” and “Vinny from the Bronx,” and DOMINICK

CICALE, together with others, knowingly and intentionally used

 

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and carried a firearm during and in relation to a crime of
violence, to wit: the crimes charged in Counts One and Two, and
knowingly and intentionally possessed such firearm, which firearm
was discharged in furtherance of such crimes of violence.

(Title 18, United States Code, Sections

924(€)(1)(A)(iii), 2 and 3551 §§ §§g.)

A TRUE BILL

FOREPERSON

 

ROSLYN'N R. MAUSKOPF
UNITED STATES ATTORNEY
EASTERN DISTRICT OF NEW YORK

   
 

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